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                  ATTACHMENT 1
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                                                                            Insurance Commissioner
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    12                        SUPERIOR COURT OF THE STATE OF WASHINGTON
    13                                           FOR KING COUNTY
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    16   PROVIDENCE HEALTH AND SERVICES,                        NO.
    17 a Washington non-profit corporation; and
    18   SWEDISH HEALTH SERVICES, a                             COMPLAINT
    19   Washington non-profit corporation,
    20
    21                         Plaintiffs,
    22
    23           I,.,
    24
    25   CERTAIN UNDERWRITERS AT LLOYD'S
    26, LONDON, SYNDICATE 2623/623
    27 (BEAZLEY); and FEDERAL INSURANCE
    28 COMPANY,
    29
    3'0                        Defendants.
    31
    32
    33          Plaintiffs, Providence Health and Services and Swedish Health Services (collectively,
    34
    35   "Providence"), allege as follows:
    36
    37                                          I. INTRODUCTION
    38
    39          1.1      This is an action for declaratory judgment and breach of contract, seeking:
    40
    41                   (a)     A declaration of the rights, duties, and liabilities of the parties under
    42
    43          primary and excess insurance policies issued to Providence by Defendants with respect to
    44
    45          liabilities incurred by Providence in connection with an employment arbitration;


         COMPLAINT    -   1                                   .        GORDON 1001 Fourth Avenue
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                     (b)     Damages for breach of contract caused to Plaintiffs by Defendant Certain
 2
 3           Underwriters at Lloyd's London, Syndicate 2623/623; and
 4
  5                  (c)     Attorneys' fees and costs incurred by Plaintiffs in this action pursuant to
 6
 7           the rule in Olympic Steamship Co., Inc. v. Centennial Ins. Co., 117 Wn.2d 37, 811 P.2d
 8
 9           673 (1991), and its progeny.
10
11                                              II. PARTIES
12
13                               Plaintiff Providence Health and Services
14
15           2.1     Providence Health and Services is a non-profit corporation organized under the
16
17    laws of the State of Washington, with its principal place of business in Renton, Washington.
18
19                                    Plaintiff Swedish Health Services
20
21           2.2     Swedish Health Services is a non-profit corporation organized under the laws of
22
23    the State of Washington, with its principal place of business in Seattle, Washington.
24
25       Defendant Certain Underwriters at Lloyd's London, Syndicate 2623/623 ("Beazley")
26
27           2.3     Certain Underwriters at Lloyd's London, Syndicate 2623/623 ("Beazley"), are
28
29    foreign and/or domestic underwriters whose exact identities are currently unknown.
30
31           2.4     Beazley is, and at all relevant times to this Complaint was, doing business in the
32
33    State of Washington.
34
35                               Defendant Federal Insurance Company
36
37           2.5     Federal Insurance Company ("Federal") is incorporated in the State of Indiana
38
39    and has its principal place of business Warren, New Jersey.
40
41           2.6     Federal is, and at all relevant times to this Complaint was, an authorized insurer
42
43    doing business in Washington.
44
45


      COMPLAINT -2                                                    GORDON       1001 Fourth Avenue
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                                   III. JURISDICTION AND VENUE
 2
 3                                      Subject Matter Jurisdiction
 4
 5          3.1     This Court has jurisdiction pursuant to RCW § § 2.08.010, 7.24.010, and 7.24.020.
 6
 7                                          Personal Jurisdiction
 8
 9          3.2     Defendants have submitted to the jurisdiction of the courts of the State of
10
11   Washington by conducting business here; by delivering, or issuing for delivery, insurance
12
13   policies here; by issuing polices that cover subjects located, resident, or to be performed in this
14
15   State; and, in the case of Beazley, via an express term in the insurance policy at issue.
16
17          3.3     This Court has personal jurisdiction over all the parties.
18
19                                                  Venue
20
21          3.4     Venue in this Court is proper pursuant to RCW §§ 4.12.025 and 48.05.220.
22
23                                     IV. INSURANCE POLICIES
24
25                                       Beazley's Primary Policy
26
27          4.1     Beazley issued a Management Liability Insurance Policy for Healthcare
28
29   Organizations to Providence, bearing Policy No. W14646150301, effective 11/1/15 to 7/1/22,
30
31   with a policy limit of $10,000,000 for each Employment Practices Liability Claim.
32
33                                        Federal's Excess Policy
34
35          4.2     Federal issued an Directors and Officers Excess Liability policy to Providence,
36
37   bearing Policy No. 8221-3385, effective 11/1/15 to 7/1/22, with a limit of $10,000,000 in excess
38
39   of Beazely Policy No. W14646150301.
40
41
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     COMPLAINT -3                                                    GORDON        1001 Fourth Avenue
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                                  V. UNDERLYING ARBITRATION
 2
 3                    Newell's Discrimination Claims and the Arbitration Award
 4
 5          5.1     This insurance coverage suit arises out of an underlying arbitration brought by Dr.
 6
 7   David W. Newell against Providence, and the arbitration award and judgment arising therefrom
 8
 9   (the "Newell claim"). In August 2015, Newell alleged that he was the subject of age-related
10
11   discrimination and retaliation. Providence initiated an internal investigation and proposed
12
13   potential methods of resolving the concerns raised by Newell, which Newell never accepted.
14
15          5.2     During the course of the internal investigation, Newell was arrested for soliciting
16
17   a prostitute during a sting operation conducted by local police. Newell did not report the arrest
18
19   to Providence as required in his employment contract. Providence later learned of Newell's
20
21   arrest from the State Medical Quality Assurance Commission. After the investigation,
22
23   Providence terminated Newell's employment contract for failure to report his arrest to
24
25   Providence.
26
27          5.3     Newell commenced an arbitration pursuant to the terms of his employment
28
29   contract, seeking damages for the termination of his employment.
30
31          5.4     Providence denied that it had acted wrongfully or caused any damage to Newell,
32
33   and vigorously defended the arbitration proceeding.
34
35          5.5     The matter proceeded to arbitration and, on August 18, 2017, the arbitrator
36
37   entered an award against Providence. The award was based on claims for breach of contract and
38
39   violation of Washington's Law Against Discrimination ("WLAD")
40
41          5.6     The arbitration award included the following damages:
42
43                  (a)     $16,500,000 for lost earnings;
44
45                  (b)    $1,000,000 for emotional distress; and


     COMPLAINT -4                                                    GORDON      1001 Fourth Avenue
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                     (c)     An award of reasonable attorneys' fees recoverable under the WLAD
 2
 3                           claim.
 4
 5                                    The Judgment and Pending Appeal
 6
  7          5.7     On October 27, 2017, King County Superior Court entered a Judgment on
  8
  9   Arbitration Award ("Judgment"), which included the above damages and $685,178.84 in
10
11    attorneys' fees and costs.
12
13           5.8     Providence appealed the arbitrator's award and the Judgment to the Washington
14
15    Court of Appeals, Division I. The appeal is pending.
16
17                          VI. THE INSURERS' COVERAGE POSITIONS
18
19                                      Beazley's Denial of Coverage
20
21           6.1     Providence notified Beazley of the Newell claim on August 28, 2017. Beazley
22
23    denied coverage via letter dated February 23, 2018.
24
25      Federal Was Notified of the Claim, But Has Not Taken a Substantive Coverage Position
26
27           6.2     Providence notified Federal of the Newell claim on August 28, 2017. By letter
28
29    dated September 22, 2017, Federal acknowledged the claim and indicated it had no obligation to
30
31    pay because the $10 million underlying policy limit had not been paid. To date, Federal has not
32
33    rendered a substantive coverage determination.
34
35                         VII. FIRST CLAIM: DECLARATORY JUDGMENT
36
37           8.1     The Newell claim satisfies the insuring agreement of the Beazley policy and the
38
39    Federal policy, no exclusion from coverage applies, and all conditions under the policies have
40
41    been satisfied or discharged and excused.
42
43           8.2     An actual controversy and justiciable controversy exists as to whether the Newell
44
45    Claim is covered by the Beazley and Federal policies.


      COMPLAINT -5                                                  GORDON       1001 Fourth Avenue
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                 8.3     The issuance of declaratory relief by this Court will terminate the existing
     2
     3   controversy between the parties.
     4
     5           8.4     Providence seeks a declaratory judgment of all rights and obligations under the
     6
     7   policies with respect to the Newell claim.
     8
     9               VIII. SECOND CLAIM: BREACH OF CONTRACT (BEAZLEY ONLY)
    10
    11          9.1      Providence realleges the allegations of Paragraphs 1.1 through 8.4, as if fully set
    12
    13   forth herein.
    14
    15          9.2      Defendant Beazley's denial of coverage for the Newell claim is in breach of
    16
    17   contract.
    18
    19          9.3      Providence has incurred and will continue to incur damages because of Beazley's
    20
    21   breach of the Policy, including attorneys' fees and costs associated with bringing this action.
    22
    23                                      IX. PRAYER FOR RELIEF
    24
    25          Plaintiffs request the following relief:
    26
    27          1.       A declaratory judgment that Defendants are obligated to afford coverage for the
    28
    29   Newell claim.
    30
    31          2.       For money damages against Beazley for breach of contract, in an amount to be
    32
    33   proved at trial, together with pre-judgment and post-judgment interest.
    34
    35          3.       For reasonable attorneys' fees and costs pursuant to Olympic Steamship Co. v.
    36
    37   Centennial Ins. Co., 117 Wn.2d 37, 811 P.2d 673 (1991).
    38
    39          4.       For such other and further relief as the Court deems just, proper, and equitable.
    40
    41   I/I
    42
    43   I/I
    44
    45   I/I


         COM PLAINT -6                                                   GORDON 1001 Fourth Avenue
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               DATED this 1st day of March, 2018.
     2
     3                                       GORDON TILDEN THOMAS & CORDELL LLP
     4                                       Attorneys for Plaintiffs Providence Health and Services
     5                                       and Swedish Health Services
     6
     7                                       By s/ Franklin D. Cordell
     8                                          Franklin D. Cordell, WSBA #263 92
     9                                          Brendan Winslow-Nason, WSBA #39328
    10                                          Chelsey L. Mam, WSBA #44609
    11                                          1001 Fourth Avenue, Suite 4000
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    15                                          bwins1ow-nason(gordontiIden.com
    16                                          crnam(gordonti1den.com
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         COMPLAINT -7                                             GORDON      1001 Fourth Avenue
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    12                      SUPERIOR COURT OF THE STATE OF WASHINGTON
    13                                  FOR KING COUNTY
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    15
    16    PROVIDENCE HEALTH AND SERVICES,                   NO.
    17    a Washington non-profit corporation; and
    18    SWEDISH HEALTH SERVICES, a                        DEMAND FOR JURY
    19    Washington non-profit corporation,
    20
    21                       Plaintiffs,
    22
    23            V.
    24
    25  CERTAIN UNDERWRITERS AT LLOYD'S
    26  LONDON, SYNDICATE 2623/623
    27  (BEAZLEY); and FEDERAL INSURANCE
    28 COMPANY,
    29
    30                      Defendants.
    31
    32
    33          Pursuant to CR 38 and LR 38, Plaintiffs Providence Health and Services and Swedish
    34
    35  Health Services hereby request a jury of 12 persons for the trial of this matter.
    36
    37          The proper fee for this demand, the sum of $250, has been paid simultaneously with this
    38
    39  filing.
    40
    41
    42
    43 I/I
    44
    45


         DEMAND FOR JURY     -   1                                     GORDON 1001 Fourth Avenue
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                DATED this 1st day of March, 2018.
      2
      3                                       GORDON TILDEN THOMAS & CORDELL LLP
      4                                       Attorneys for Plaintiffs Providence Health and Services
      5                                       and Swedish Health Services
      6
      7                                               si Franklin D. Cordell
      8                                              Franklin D. Cordell, WSBA #26392
      9                                              Brendan Winslow-Nason, WSBA #39328
     10                                              Chelsey L. Mam, WSBA #44609
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          DEMAND FOR JURY -2                                       GORDON 1001 Fourth Avenue
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